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           IN THE UNITED STATES DISTRICT COURT OF ARKANSAS
                           WESTERN DISTRICT
                          EL DORADO DIVISION

DAVDRIN GOFFIN                                                                 PLAINTIFF

V.                          N: 1:15-CV-1040-SOH

RANDY PEEK, individually and in his
Official capacity as Police Chief for
The City of Warren, CITY OF WARREN,
ROBBIE K. ASHCRAFT, in her official and
Individual capacity as a law enforcement officer
Of the city of warren, BRYAN MARTIN,
Individually and in his official capacity as
Mayor for the City of Warren, Arkansas and
John Does 1 through 10                                                     DEFENDANTS

         BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL

       In compliance with Rules 5, 33 and 34 of the Federal Rules of Civil Procedure,

Defendants served the Plaintiff with discovery requests on November 23, 2015; however,

Plaintiff has failed to adequately respond to these discovery requests.

       Rule 26(b)(1) of the Federal Rules of Civil Procedures provides that:

       Parties may obtain discovery regarding any matter, not privileged, that is
       relevant to the claim or defense of any party, including the existence,
       description, nature, custody, condition, and location of any books, documents,
       or other tangible things and the identity and location of persons having
       knowledge of any discoverable matter. . . . Relevant information need not be
       admissible at the trial if the discovery appears reasonably calculated to lead
       to the discovery of admissible evidence.

       Rule 33 states, in pertinent part:

       The party upon whom the interrogatories have been served shall serve a copy
       of the answers, and objections if any, within thirty (30) days after the service
       of the interrogatories.

       All grounds for an objection to an interrogatory shall be stated with
       specificity. Any ground not stated in a timely objection is waived unless the
       party’s failure to object is excused by the Court for good cause shown.

Fed. R. Civ. P. 33(b)(3)-(4)(paragraph numbers omitted)(emphasis added).
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       Furthermore, Rule 34 provides that:

       The party upon whom the request [for production of documents] is served
       shall serve a written response within 30 days after the service of the request. .
       . . The response shall state, with respect to each item or category, that
       inspection and related activities will be permitted as requested, unless the
       request is objected to, in which event the reasons for the objection shall be
       stated.

Fed. R. Civ. P. 34(b).

       Plaintiff’s Complaint alleges that Defendants are liable for Fourth, Eighth and

Fourteenth Amendment violations due to an alleged unreasonable seizure. Plaintiff seeks

damages from Defendants for their alleged misconduct. In his Complaint, Plaintiff claims

that he suffered severe physical and mental distress.

       In light of Plaintiff’s claims for severe physical and mental distress, Defendants

should be permitted to discover information concerning Plaintiff’s medical history. That

Plaintiff may not have sought medical treatment for the emotional and mental injuries he

allegedly suffered does not preclude Defendants from discovering information pertinent to

his claims for such damages. The information and documents sought by Defendants are

relevant to the claims for relief made by the Plaintiff. Plaintiff’s past medical treatment is

relevant in determining the extent of causation for any emotional or mental injuries which

Defendants have allegedly inflicted.

       The prerequisites under Rule 37 have been satisfied. Via correspondence and

telephone, Defendants have attempted to secure responses to their discovery requests.

Despite Defendants’ good faith attempts, Plaintiff has failed to participate in the discovery

process without Court intervention.

       For these reasons, Plaintiff should be compelled to respond to Defendants’ First Set

of Interrogatories and Requests for Production of Documents without objection. In the




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alternative, Defendants respectfully request that Plaintiff’s claims for any loss of income

and emotional, mental or psychological injuries be dismissed with prejudice.

       WHEREFORE, Defendants pray that this Court issue an Order directing Plaintiff to

respond without objection to the said discovery within five (5) days of the Court’s said Order,

and for all other just and proper relief to which they are entitled.

                                             Respectfully submitted,

                                             RANDY PEEK, ROBBIE K. ASHCRAFT, BRYAN
                                             MARTIN, in their individual and official
                                             capacities, and THE CITY OF WARREN,
                                             ARKANSAS, Defendants

                                     By:     /s/ John L. Wilkerson
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                               CERTIFICATE OF SERVICE

        I, John L. Wilkerson, hereby certify that on this 29th day of July, 2015, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to all participants listed below, and I further certify that I have
mailed the document to all non-participants via Certified Mail, Return Receipt Requested:

Robert L. Depper, Jr.
Depper Law Firm
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El Dorado, AR 71730


                                             /s/ John L. Wilkerson
                                             John L. Wilkerson, ABA #2008046




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